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                                CERTIFICATE OF SERVICE

        I hereby certify that this document, which was filed with the Court through the CM/ECF
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                                                             /s/ Sean M. Berkowitz
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